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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                  FLORENCE DIVISION

Terry Rud,                                    )      Civil Action No. 4:20-cv-3280-TMC
                                              )
                      Plaintiff,              )
                                              )
             v.                               )
                                              )                     ORDER
Andrew Saul,                                  )
Commissioner of Social Security,              )
                                              )
                      Defendant.              )



       Plaintiff Terry Rud brought this action pursuant to 42 U.S.C. § 405(g), seeking judicial

review of a final decision of the Social Security Commissioner denying her claim for disability

insurance benefits under the Social Security Act. (ECF No. 1). This matter is before the court on

the Commissioner’s motion, pursuant to sentence four of 42 U.S.C. § 405(g), for entry of judgment

and an order reversing the decision of the agency and remanding the case to further evaluate

Plaintiff’s claims, offer Plaintiff an opportunity for a hearing, take any necessary action to

complete the administrative record, and issue a new decision. (ECF No. 14). Plaintiff consents to

the Commissioner’s motion. Id.

       Accordingly, the court GRANTS the motion to remand (ECF No. 14). The

Commissioner’s decision is REVERSED, pursuant to sentence four of 42 U.S.C. § 405(g), and

this action is REMANDED to the Commissioner for further administrative proceedings.1

       IT IS SO ORDERED.
                                                                    s/Timothy M. Cain
                                                                    United States District Judge
June 7, 2021
Anderson, South Carolina

1
 The clerk of the Court will enter a separate final judgment pursuant to the Federal Rules of Civil
Procedure, Rule 58.
